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                       UNITED STATES DIST~,~~URT
                     SOUTHERN DISTRICT oF' CMtFORNIA
                                             2B120eT -3 AM II: 01

UNITED STATES OF AMERICA,

                       Plaintiff,
               vs.                           JUDGMENT OF DISMISSAL
ERNESTO COVARRUBIAS (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense{s) as charged in the Information:

     8: 1324 (a) (I) (A) (ii) and (v) (II)



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: SEPTEMBER 27, 2012
                                              Bernard G. Skomal
                                              U.S. Magistrate Judge
